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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          NEWNAN DIVISION

GLORIA KERR,                             :

       Plaintiff                         :
                                                   CIVIL ACTION FILE
vs.                                      :
                                                   NO.:      3:15-cv-28-TCB
CHELSEA KERR RICHMOND,                   :

       Defendant                         :

                       JUDGMENT & FINAL ORDER

       WHEREAS this matter came before the Court on October 2, 2017, for

a jury trial;

       WHEREAS at the pretrial conference in the matter conducted prior to

commencement of the jury trial, the parties stipulated to the following facts:

       1.       Plaintiff Gloria Kerr and Defendant Chelsea Kerr Richmond are
mother and daughter, respectively.


       2.       Timothy Kerr was Chelsea's father and Gloria Kerr's ex-
husband.


       3.       Timothy and Gloria were divorced in 1996 pursuant to a
divorce decree that required Timothy to "continue to maintain life insurance
coverage insuring [his] life in an amount of not less than $200,000.00,
naming [Gloria Kerr] as sole irrevocable beneficiary.... "


       4.       When Timothy died on September 18, 2014, the only life

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insurance coverage he had in place was an employee death benefits policy
issued by MetLife Insurance Company in the amount of $478,000. Chelsea
was named as the sole beneficiary of that policy.


      5.      Following Timothy's death, Gloria filed a rival beneficiary
claim with MetLife, asserting her right to $200,000 of the poHcy proceeds.


      6.      In October 2014, Gloria filed a lawsuit in the Superior Court of
Spalding County against Chelsea, MetLife, Timothy's estate, and Timothy's
former employer, seeking, among other relief, $200,000 of the life insurance
proceeds.

      7.      On or about November 7, 2014, Chelsea sent an e-mail to
Gloria and Gloria's attomey offering to pay Gloria $200,000 in exchange for
immediate dismissal of the lawsuit. That e- mail provided, in pertinent part:



           Chelsea Richmond, agree to pay my mother, Gloria Kerr, the
     sum of Two-Hundred        Thousand Dollars     ($200,000.00)     upon
     receipt of any life insurance payout from my late father's,    Timothy
     Kerr, benefits program....In exchange for this agreed payout, my
     mother, Gloria Kerr, and her counsel, Jason Smith, agree to
     immediately drop any and all civil complaints, dispute of benefits,
     or pending    litigation against The Estate of Timothy Kerr, The
     Progressive Mountain Insurance Co., Met-Life Insurance,         Joshua
     Kerr as Administrator of the Estate of Timothy Kerr, and myself,
     Chelsea Richmond, as a group and individually....Upon           receipt
     and agreement      of this good faith promise      between     Chelsea
     Richmond and Gloria Kerr, all civil cases filed and disputes over


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    benefits shall be immediately withdrawn and/or dismissed               with
    prejudice as soon as reasonably possible. At this time, an official
    document is to be drafted by Gloria Kerr's counsel, Jason Smith,
    to be signed by both parties. The document shall fall in line with
    the terms and conditions offered in this correspondence.''


      8.     A formal settlement agreement was then prepared by Gloria's
attomey that memorialized the terms of Chelsea's November 7th e-mail and
provided as follows:


     'T, CHELSEA RICHMOND,              agree to pay my mother,         GLORIA
    KERR, the sum of Two Hundred Thousand Dollars                 ($200,000.00)
    upon receipt of any life insurance payout from my late father's,
    Timothy Kerr, employer benefits program, believed at this time to
    be underwritten by MetLife Insurance Company of              Connecticut...In
    exchange for this agreed payout, my mother, GLORIA KERR, by
    and through her counsel, Jason Smith, agrees to immediately drop
    any and all civil complaints, dispute of benefits, and/or pending
     litigation   against...Met-Life    Insurance,...and     myself      Chelsea
    Richmond, as a group and individually...

     Upon receipt      of any payout       from   Met-Life...,    I,   CHELSEA
     RICHMOND, will immediately forward payment in certified funds
     to my mother c/o her attorney, Jason Smith, made payable to
     "Jason Smith and Gloria Kerr " . . . .

       9.     After the settlement agreement was signed by both parties,
Gloria dismissed the lawsuit she had filed in the Superior Court of
Spalding County and withdrew the rival beneficiary claim she had filed


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with MetLife.


      10.    Gloria also executed a general release with MetLife, which
paid the full $478,000 to Chelsea on or around December 10, 2014.


       11.   When MetLife paid the policy proceeds to Chelsea, it wrote
to Chelsea that after "review[ing] the entire claim, including all
documentation submitted by [Gloria]," its "internal determination of the
proceeds pertaining to the life insurance policy for Timothy Kerr will be
paid in full to [Chelsea]."


       12.   The total amount paid to Chelsea by MetLife, inclusive of
interest, was approximately $488,000.


       13.   In early December 2014, Chelsea executed a contract to
purchase a home located at 123 Daisey Lane in Justin, Texas. The purchase
price of the home was approximately $285,000. The home was deeded
jointly to Chelsea and her husband Aaron.


       14.    On December 17, 2014, Chelsea sent an e-mail to Gloria's
attomey claiming that she had mailed him a cashier's check for Gloria's
portion of the insurance proceeds. The check never arrived.


       15.    On December 18, 2014, Chelsea sent the following e-mail to
Gloria: I can't give you the money. Aaron took all of it and left. I have
nothing to my name. I'm sorry. Kendall [Chelsea's daughter] and I are alone
and we are being forced to move. I f you want to press criminal charges
against me, that's fine. Kendall will end up a ward of the state.




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        16.     To date, Gloria has received none of the insurance proceeds.




        WHEREAS prior to the jury trial, the parties arrived at an amicable

resolution of remaining claims in this case, to wit: Plaintiffs claims for

damages based upon fraud, and Plaintiffs claim for attorney's fees. The

parties announced said agreement on the record and both parties articulated

their assent to the terms thereof on the record;



        WHEREAS the substance of the parties' agreement is as follows:

   1.         The constructive trust in the amount of $200,000.00 on the real

              property located at 123 Daisey Lane, in Justin, Texas (hereinafter

              "123 Daisey Lane"), as previously entered by this Court's Order

              73] on Plaintiffs Second Motion for Summary Judgment [65]—

              said Order being entered on March 8, 2017—shall remain in fiill

              force and effect;



   2.         In addition to the constructive trust on 123 Daisey Lane, Defendant

              shall confess judgment on Plaintiffs remaining claims in the

              amount of $20,000.00;




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   Further, Defendant shall grant Plaintiff a lien in the amount of

   $20,000.00 on Defendant's interests in and to 123 Daisey Lane,

   whatever that interest may be and to whatever extent Defendant's

   interests may appear;



   Further, Defendant shall grant Plaintiff a lien on Defendant's

   interests and/or share of the Estate of Timothy Kerr (Defendant's

   father) (hereinafter "the Estate") in the amount of $20,000.00,

   whatever that interest may be and to whatever extent Defendant's

   interests may appear;



   Upon Defendant's payment of $20,000.00 to Plaintiff, Plaintiff

   shall release both liens (the lien on the Estate and the lien on 123

   Daisey Lane); however the constructive trust will remain in full

   force and effect until such time as Defendant pays Plaintiff

   $200,000.00;




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  6.       The parties stated on the record that this agreement resolves all

           remaining issues in this case; and,



   7.      Further, the parties agreed to execute whatever documents were

           necessary to effect the intent of this agreement promptly, within

           ten (10) days of being presented said document.



        WHEREFORE the Court finds a factual basis for the parties'

agreement and hereby enters judgment upon that agreement as follows:

        The constmctive tmst in the amount of $200,000.00 on the real

property located at 123 Daisey Lane, in Justin, Texas, as previously entered

by this Court's Order [73] on Plaintiffs Second Mofion for Summary

Judgment [65]—said Order being entered on March 8, 2017—shall remain

in full force and effect and is hereby made a part of this judgment.

        IT IS ORDERED that judgment is entered in favor of Plaintiff in the

amount of $20,000.00 on Plaintiffs remaining claims for damages based

upon Defendant's fraud and for Plaintiffs attomey's fees pursuant to OCGA

13-6-11.




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interest in 123 Daisey Lane.
                                           Plaintiff shall release her lien.
      When the judgment is paid in full,


       IT IS SO ORDERED t X " ^ day



                           Tf^-OwcySatten, Sr.
                           U n t d states District court Judge
                           Northern District of Georgm




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